

People v Edward K. (2024 NY Slip Op 51564(U))



[*1]


People v Edward K.


2024 NY Slip Op 51564(U)


Decided on November 18, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on November 18, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



570031/22

The People of the State of New York, Respondent, 
againstEdward K., Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Tara A. Collins, J.), rendered December 2, 2021, convicting him, upon his plea of guilty, of petit larceny, and imposing sentence.




Per Curiam.
Judgment of conviction (Tara A. Collins, J.), rendered December 2, 2021, affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545 [2019], cert denied 589 U.S. —, 140 S.Ct. 2634 [2020]). During the court's extensive oral colloquy with defendant, the court took the time to provide thorough and straightforward explanations for what defendant was waiving, how it differed from his trial waiver, and the rights that survived the appeal waiver. This colloquy, together with the detailed written waiver that defendant signed after consultation with counsel, satisfied the requirements of a valid waiver and forecloses review of defendant's challenge to the issuance of an order of protection (see People v Haskins, — AD3d —, 2024 NY Slip Op 04828 [2024]; People v Rivera, 212 AD3d 471 [2023], lv denied 39 NY3d 1113 [2023]; People v Frasqueri, 193 AD3d 464 [2021], lv denied 37 NY3d 965 [2021]).
Regardless of whether defendant made a valid waiver of his right to appeal, he failed to preserve his challenge to the order of protection (see People v Nieves, 2 NY3d 310, 315-317 [2004]; People v Key, 222 AD3d 536 [2023], lv denied 41 NY3d 943 [2024]; People v Rivera, 212 AD3d at 471). Defendant received an extremely favorable global disposition resolving two pending felony complaints that had been consolidated for purposes of disposition. Despite opportunities to do so at the plea and sentencing proceedings, defendant raised no objections and we decline to review his claim in the interest of justice. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: November 18, 2024









